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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS
UNITED STATES OF AMERICA,                   )
                                            )
                        Plaintiff,          )       CRIMINAL ACTION
                                            )
v.                                          )       No.   07-10221-MLB
                                            )
JAMES BLACK,                                )
                                            )
                        Defendant.          )
                                            )

                             MEMORANDUM AND ORDER
         This case comes before the court on the following motions
submitted by defendant James Black:
         1)   Motion for acquittal or, in the alternative, a new trial
(Doc. 886);
         2)   Motion for arrest of judgment (Doc. 887);
         3)   Motion to set aside judgment (Docs. 983*, 984*);
         4)   Motion for review (Doc. 1016*);
         5)   Motion to vacate (Doc. 1017*);
         6)   Motion for production of statements (Doc. 1019*); and
         7)   Motion for recusal (Doc. 1020*).
         The motions have been fully briefed and are ripe for decision.
(Doc. 1027, 1028)).        Black’s motions are denied for the reasons
herein.
I.       Facts and Procedural History1
         Black, along with three co-defendants, were charged in a Fifth

     1
       A more detailed discussion of the procedural history of this
case, which was initially filed in 2007, can be found in this court’s
previous orders. See Docs. 800, 850.
     * Filed pro se after defendant was apprehended following his
failure to appear for sentencing.
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Superceding Indictment filed on September 14, 2011.                The indictment
contained a total of 35 counts and forfeiture allegations.                Black was
charged in Count 2 with conspiracy to distribute cocaine occurring
from an unknown date until September 23, 2007.                 No co-conspirators
were identified by name in Count 2, only “other persons whose
identities are both known and unknown . . . .” Black was also charged
with five counts of using a telephone to distribute cocaine, and four
counts of possession with intent to distribute cocaine.               On March 26,
2012, the court granted in part Black’s motion to sever.               (Doc. 867).
The court severed Clearance Reed and Gregory Reynolds because Reed and
Reynolds were not charged with conspiracy.            See Doc. 867.       The trial
was set for April 3 with two defendants, Black and Michael Biglow, who
was charged in a separate conspiracy count.
         On April 3, the jury was empaneled.              On April 10, at the
conclusion of the evidence, Black moved for judgment of acquittal on
all counts. The court denied Black’s motion. After deliberating over
two   days,    the   jury   returned    a   guilty   verdict     on   all     counts.
Sentencing was set for July 2, 2012. Black, however, failed to appear
for an interview with probation and a warrant was issued for his
arrest.      Black was arrested on March 24, 2014, when he was stopped by
Wichita police officers. Black was charged in state court for various
offenses and served a short sentence.           While in state custody, Black
filed various motions pro se.          The court will address each motion in
turn.
II.     Analysis
        A.    Motion for Judgment of Acquittal (Doc. 886)
        Defendant moves for acquittal of his conspiracy charge on the

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basis that there was insufficient evidence to support a conspiracy to
distribute cocaine.    (Doc. 886).   Pursuant to Fed. R. Crim. P. 29(c),
a defendant may move for judgment of acquittal after the jury has
returned a guilty verdict.     If a defendant offers evidence, as he did
in this case, the court reviews the entire record in order to
determine if there was sufficient evidence for a reasonable jury to
find defendant guilty. United States v. Delgado-Uribe, 363 F.3d 1077,
1083 (10th Cir. 2004). In reviewing the evidence, the court must view
all evidence in the light most favorable to the government.                  United
States v. Swanson, 360 F.3d 1155, 1162 (10th Cir. 2004). A conviction
may be reversed only if “no reasonable juror could have reached the
disputed verdict.” United States v. Carter, 130 F.3d 1432, 1439 (10th
Cir. 1997).
      During   the    trial,   the    government       introduced           recorded
conversations between Tyrone Andrews and Black.             The government also
called Andrews and Abarca to testify.        The evidence established that
Andrews was a major dealer who received approximately five to ten
kilos a week from either Jose Pizana, referred to as the “high” one
in the recorded calls, or Jesus Abarca, referred to as the “fat” one.
The recorded calls between Andrews and Black demonstrated that Black
was purchasing cocaine from Andrews.           Moreover, Andrews testified
that Black purchased cocaine on numerous occasions in order to sell
it.   Black also confessed to his crimes in an interview with the
Wichita Police Department.2

      2
       Black argues that the court erroneously denied his motion to
suppress his statement. (Doc. 886 at 3). Black, however, offers no
authority for this position nor does he attempt to argue how the
decision was erroneous. Therefore, Black’s statement was properly

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     Turning to the elements, the instruction to the jury3 on the
conspiracy count stated as follows:
          To find Black guilty of this crime you must be
     convinced that the government has proved each of the
     following beyond a reasonable doubt:
     First: two or more persons agreed to violate the federal
     drug laws;
     Second: Black knew the essential objective of the conspiracy;
     Third: Black knowingly and voluntarily involved himself in the
     conspiracy; and
     Fourth: there was interdependence among the members of the
     conspiracy.
(Instruction No. 7).
     Black first asserts that the evidence was not sufficient to
establish beyond a reasonable doubt that he knowingly and voluntarily
entered into an agreement to distribute cocaine with Andrews, thus
challenging the first and third elements.        The Tenth Circuit has held
that the jury may infer an agreement from circumstantial evidence.
United States v. Delgado-Uribe, 363 F.3d 1077, 1083 (10th Cir. 2004).
Factors for the court to consider in reviewing a jury's verdict
include, but are not limited to: “(1) a defendant's presence at the
crime scene; (2) a defendant's association with co-conspirators; (3)
evidence   of   conflicting   stories;    (4)   active      attempts   to   divert
officers' attention from a stopped vehicle; (5) participation in drug
transactions; or (6) knowledge of and control over drugs.”                  Id.   A
single factor may be insufficient; however, a direct correlation


introduced at trial.
     3
       These elements are in accordance with Tenth Circuit law and
Black has not challenged the instructions in his motion.    United
States v. Wright, 506 F.3d 1293, 1297-98 (10th Cir. 2007).

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exists “between the number of circumstantial facts and the existence
of a conspiracy.”      Id.
     In this case, the evidence supports more than one factor.               There
is substantial evidence to support a finding that Black had knowledge
and possession of cocaine.          Andrews testified that he sold Black
cocaine on several occasions. The recorded calls also show that Black
purchased cocaine from Andrew.           Moreover, Black confessed to his
involvement to police officers.         The court finds that this evidence
is sufficient to infer a knowing and voluntary agreement by Black to
enter into a conspiracy with Andrews.           See   United States v. Small,
423 F.3d 1164, 1184-85 (10th Cir. 2005).
     Next, Black contends that there was not sufficient evidence to
support interdependence in this case.         Basically, Black’s position is
that the government only established a buyer-seller relationship with
Tyrone Andrews and that the cocaine was for Black’s personal use.
Interdependence is established when “each coconspirator's activities
constitute essential and integral steps toward the realization of a
common, illicit goal.”        United States v. Carter, 130 F.3d 1432, 1440
(10th Cir. 1997).   Andrews testified that Black would not pay for the
cocaine when he initially received it but that Andrews would front
Black the cocaine. (Tr. at 565). A “front” is when a dealer provides
the cocaine up front and payment is expected after the buyer resells
the drugs.     Small, 423 F.3d at 1184.           This “arrangement strongly
suggests that [Biglow] was expected to redistribute the fronted drugs
for profit.”     Id.         This evidence is sufficient to satisfy the
interdependence element.        See United States v. Roberts, 14 F.3d 502,
511 (10th Cir. 1993) (recognizing that fronting creates a situation

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of mutual dependence because the seller's ability to front drugs is
dependent on his receipt of money due).
     Black’s    motion    for   acquittal   on    the   conspiracy      count   is
accordingly denied.4
     B.     New Trial
     In the alternative, Black argues that this court’s previous
rulings were all in error. (Doc. 886 at 3-4). Black, however, offers
no specific argument as to each ruling. Therefore, Black’s motion for
a new trial on this basis is denied.
     C.     Motion for arrest of judgment (Doc. 887)
     Black renews his motion to dismiss on the basis that his Sixth
Amendment right to a speedy trial was violated.               The court denied
Black’s first motion concerning his speedy trial rights on November
3, 2011.   (Doc. 800).    Black has not established that this ruling was
erroneous.     Therefore, according to the order, Black had 70 days
remaining on his speedy trial clock at the time the order was entered
on November 3. Black, however, argues that the additional delay after
this court’s November 3, 2011, ruling violated his speedy trial
rights.    (Doc. 887 at 5-6).    A review of the docket sheet shows that
several motions were pending during November 2011 and the following
months leading up to trial.      “Delays resulting from pretrial motions
are generally excluded from the speedy trial seventy day time limit,


     4
       Black also makes the conclusory argument that the guilty
verdict on the charges for possession with the intent to distribute
was not established with sufficient evidence.     (Doc. 886 at 2).
Black, however, fails to address how the evidence did not establish
the charges. Based on the evidence introduced at trial, supra, the
court finds that there was sufficient evidence to convict Black on
those charges.

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as are reasonable periods of delay pertaining to co-defendants joined
for trial.” United States v. Gutierrez, 48 F.3d 1134, 1136 (10th Cir.
1995). Black’s motion does not attempt to specifically discuss the
motions pending after November 2011 and the effect of those motions
on his speedy trial determination.
     Black’s motion for arrest of judgment is therefore denied.
     D.   Motion for a Departure (Docs. 983, 984)
     In Black’s pro se motion for departure, he contends that the
government violated Brady and withheld evidence. There is no evidence
to support Black’s allegations.     The motion is denied for the reasons
stated in the government’s response.
     E.   Motion for review (Doc. 1016)
     In Black’s pro se motion for review, Black asks the court to
review Andrews’ debriefings and take the testimony of Charles O’Hara,
a defense attorney, in order to determine if the claims in his motion
for a departure are valid.     The court has denied Black’s motion for
a departure.   Therefore, Black’s motion for review is denied as moot.
     F.   Motion to vacate (Doc. 1017)
     In Black’s pro se motion to vacate, Black seeks a judgment of
acquittal on the basis that his trial counsel, Carl Maughn, was
ineffective for failing to raise the speedy trial issue after May 2011
and allegedly lying to Black about the speedy trial motion.               Maughn
filed a motion to dismiss on the basis of a violation of speedy trial
on September 7, 2011.     (Doc. 774).     Additionally, Maughn filed the
motion arrest of judgment, discussed supra, on April 26, 2012.             (Doc.
887). Therefore, Maughn preserved this issue during trial and was not
ineffective.

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     Additionally, Black contends that the superceding indictments
charged Black with possession of 500 grams of cocaine and that this
allegation was not proven at trial.        Black is incorrect.        The grand
jury did not specifically charge Black with possession of a specific
quantity of cocaine.      Biglow, however, was specifically charged with
a conspiracy to distribute 500 grams of cocaine.
     Black’s motion to vacate is denied.
     G.   Motion for production of statements (Doc. 1019)
     Black moves, pro se, for an order requiring the government to
disclose Andrews’ debriefings.         The government responds that it
disclosed the debriefings to trial counsel.          The government does not
have an additional obligation to provide documents directly to Black.
Therefore, Black’s motion is denied.
     H.   Motion for recusal (Doc. 1020)
     Finally, in his last pro se motion, Black seeks my recusal on the
basis that I am biased and prevented him from having a fair and
impartial trial.
     The standard, repeated in countless cases, is set out in Bolden
v. City of Topeka, Kansas, 441 F.3d 1129, 1151 (10th Cir. 2006):
          “[J]udicial rulings, routine trial administration
     efforts, and ordinary admonishments (whether or not legally
     supportable) to counsel” do not establish bias unless they
     “display[ ] deep-seated and unequivocal antagonism that
     would render fair judgment impossible. Liteky v. United
     States, 510 U.S. 540, 555–56, 114 S.Ct. 1147, 127 L.Ed.2d
     474 (1994). Ordinarily, when a judge's words or actions are
     motivated by events originating within the context of
     judicial proceedings, they are insulated from charges of
     bias. Thus, adverse rulings cannot in themselves form the
     appropriate grounds for disqualification. United States v.
     Nickl, 427 F.3d 1286, 1298 (10th Cir. 2005) (internal
     citation and quotation marks omitted).”
     Black’s motion spends a considerable amount of time complaining

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about his trial counsel and makes no attempt to correlate how the
alleged deficiencies, i.e. motion practice and plea negotiations,
result in judicial bias.       Black further suggests that I appointed
Maughn as a favor to Maughn’s father so that Maughn could gain
experience in a complex case.     Contrary to Black’s allegation, Maughn
was appointed by the magistrate judge without any input from me.
     None of Black’s claims are remotely sufficient to satisfy the
Bolden standard.    None would cause a reasonable, objective person,
knowing all the relevant facts, to question my impartiality.               United
States v. Erickson, 561 F.3d 1150, 1169 (10th Cir. 2009), cert.
denied, 130 S. Ct. 173 (2009).5     Black’s affidavit is insufficient to
establish prejudice and I decline to recuse.
III. Conclusion
     Black’s motion for acquittal or, in the alternative, a new trial
is denied.   (Doc. 886).      Black’s motion for arrest of judgment is
denied.   (Doc. 887).     Black’s pro se motions are all denied.           (Docs.
983, 984, 1016, 1017, 1019, 1020).
     Sentencing will be held on April 20, 2015, at 10:30 a.m.


     IT IS SO ORDERED.


     Dated this    13th      day of April 2015, at Wichita, Kansas.

     5
       It is patently obvious that Black’s pro se motions are “ghost
written,” presumably by an unidentified “jail house lawyer.” In the
unlikely event that they were prepared by a licensed lawyer, the
lawyer was required to sign them. Duran v. Carris, 238 F.3d 1268,
1271 (10th Cir. 2001). But irrespective of who prepared them, they
are factually untrue.   For example, defendant states that I am a
“golfing buddy” of his defense counsel’s father (Doc. 1020 at 4). I
do not know defense counsel’s father and I do not play golf.

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                                         s/ Monti Belot
                                         Monti L. Belot
                                         UNITED STATES DISTRICT JUDGE




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